 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 1 of 16




                    Exhibit C: Claims to Be Dismissed With Prejudice

                      Claims for Which No Opposition was Submitted:




                                              Middle
FirmName            LastName      FirstName   Initial   Case Caption           Docket #
                                                                               2:06-cv-
                                                        Smith, Linda v.        04027-EEF-
Altman & Prescott   Smith         Linda       R.        Merck & Co., Inc       DEK
                                                                               2:08-cv-
                                                        Graham, Cassie v.      00879-EEF-
Anderson, John H.   Crowell       Eula                  Merck & Co., Inc.      DEK
                                                                               2:08-cv-
                                                        Nelson, Louis v.       00880-EEF-
Anderson, John H.   Blakenship    Lamond      Sr.       Merck & Co., Inc.      DEK
                                                                               2:08-cv-
                                                        Nelson, Louis v.       00880-EEF-
Anderson, John H.   Newsome       Linda                 Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Austin &                                                Berry, Lillie Mae v.   04553-EEF-
Associates, LLC     Becnel        Emily                 Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Austin &                                                Berry, Lillie Mae v.   04553-EEF-
Associates, LLC     Berry         Lillie      Mae       Merck & Co., Inc.      DEK
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 2 of 16




                                                                           2:05-cv-
Austin &                                            Berry, Lillie Mae v.   04553-EEF-
Associates, LLC     Dandridge      Dorothy          Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Austin &                                            Berry, Lillie Mae v.   04553-EEF-
Associates, LLC     Keeton         Brenda           Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Austin &                                            Berry, Lillie Mae v.   04553-EEF-
Associates, LLC     Veal           Ruby             Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Austin &                                            Berry, Lillie Mae v.   04553-EEF-
Associates, LLC     Wright         Shirley          Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Barham, Warner                                      Crooks, Johnie R. v.   02020-EEF-
& Bellamy, L.L.C.   Crooks         Johnie      R.   Merck & Co., Inc.      DEK
                                                                           2:06-cv-
Becker &                                            Bonilla, Ana v.        02242-EEF-
D'Agostino          BONILLA        ANA              Merck & Co., Inc.      DEK
Blizzard,                                                                  2:06-cv-
McCarthy &                                          Alegria, Jose v.       05990-EEF-
Nabers, LLP         Sparr          Raymond     J.   Merck & Co., Inc.      DEK
Blizzard,                                                                  2:06-cv-
McCarthy &                                          Jones, Lynn v.         06778-EEF-
Nabers, LLP         Jones          Lynn             Merck & Co., Inc.      DEK
                                                                           2:06-cv-
                                                    Ahmad, Fatemeh v.      06441-EEF-
Branch Law Firm     Hicks          Agnes       H.   Merck & Co., Inc.      DEK
                                                                           2:06-cv-
                                                    Ahmad, Fatemeh v.      06441-EEF-
Branch Law Firm     Ledbetter      Saul             Merck & Co., Inc.      DEK
                                                                           2:06-cv-
                                                    Ahmad, Fatemeh v.      06441-EEF-
Branch Law Firm     Pederson       Frances          Merck & Co., Inc.      DEK
                                                                           2:06-cv-
                                                    Ahmad, Fatemeh v.      06441-EEF-
Branch Law Firm     Wagner         Wendie           Merck & Co., Inc.      DEK
                                                                           2:06-cv-
                                                    Aleamoni, Nancy v.     06438-EEF-
Branch Law Firm     Carlson, III   Harry            Merck & Co., Inc.      DEK
                                                                           2:06-cv-
                                                    Aleamoni, Nancy v.     06438-EEF-
Branch Law Firm     Knight         Carol            Merck & Co., Inc.      DEK



                                             -2-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 3 of 16




                                                                          2:06-cv-
                                                   Aleamoni, Nancy v.     06438-EEF-
Branch Law Firm      Mallon      James             Merck & Co., Inc.      DEK
                                                                          2:06-cv-
                                                   Aleamoni, Nancy v.     06438-EEF-
Branch Law Firm      Sanchez     Frank             Merck & Co., Inc.      DEK
                                                                          2:06-cv-
                                                   Allen, Lonnie Jr. v.   06633-EEF-
Branch Law Firm      Kangas      Paul         M.   Merck & Co., Inc.      DEK
                                                                          2:06-cv-
                                                   Allen, Lonnie Jr. v.   06633-EEF-
Branch Law Firm      Treece      Velma             Merck & Co., Inc.      DEK
                                                                          2:06-cv-
                                                   Andrews, Lillian v.    06443-EEF-
Branch Law Firm      Cabatbat    Melodia           Merck & Co., Inc.      DEK
                                                                          2:06-cv-
                                                   Andrews, Lillian v.    06443-EEF-
Branch Law Firm      Caine       Harriet           Merck & Co., Inc.      DEK
                                                                          2:06-cv-
                                                   Apice, Joseph v.       06439-EEF-
Branch Law Firm      Kennedy     Donald            Merck & Co., Inc.      DEK
                                                                          2:05-cv-
Brown Law Firm,                                    Broussard, Bart v.     02158-EEF-
The                  Broussard   Bart         A    Merck & Co., Inc.      DEK
                                                                          2:05-cv-
Cantrell, Cantrell                                 Davis, George W. v.    06244-EEF-
& Fisher             Davis       George       W    Merck & Co., Inc.      DEK
                                                                          2:05-cv-
                                                   Atkins, Stella v.      04324-EEF-
Carey & Danis, LLC Rogers        Alice             Merck & Co., Inc.      DEK
                                                                          2:05-cv-
                                                   Cavins, Jane v.        03816-EEF-
Carey & Danis, LLC Fisher        Ruby              Merck & Co., Inc.      DEK
                                                                          2:05-cv-
Ernst and                                          Taylor, Antionette     04710-EEF-
Associates           Taylor      Antionette   A    v. Merck & Co., Inc.   DEK
                                                                          2:05-cv-
Eubanks, Gary &                                    Oaks, James v.         05062-EEF-
Associates           McGinnis    Danny        R    Merck & Co., Inc.      DEK
                                                                          2:06-cv-
Fabbro, Steven A.,                                 Gutierrez, Marbely     11015-EEF-
Law Office of        Gutierrez   Marbely           v. Merck & Co., Inc.   DEK



                                           -3-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 4 of 16




Farr, Kaufmann,
Sullivan, Jensen,                                                          2:07-cv-
Medsker, Nichols,                                   Montoya, Cristobal     00735-EEF-
Conklin, Olds        Montoya     Filberto           v. Merck & Co., Inc.   DEK
Farr, Kaufmann,
Sullivan, Jensen,                                                          2:06-cv-
Medsker, Nichols,                                   Robb, Leonard S. v.    10314-EEF-
Conklin, Olds        Elizie      West         G.    Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Fenner & Boles                                      Benge, Steven v.       05148-EEF-
LLC                  Alexander   Arvil        L.    Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Fenner & Boles                                      Reed, Thelma v.        05347-EEF-
LLC                  Weber       Jane         M.    Merck & Co., Inc.      DEK
                                                                           2:06-cv-
Fibich, Hampton                                     Blair, Ruby v. Merck   06817-EEF-
& Leebron, LLP       Blair       Ruby               & Co., Inc.            DEK
                                                                           2:08-cv-
Gallagher Law                                       Dandles, James v.      00593-EEF-
Firm (TX)            Dandles     James              Merck & Co., Inc.      DEK
                                                                           2:06-cv-
Gallagher Law                                       Gallagos, Margarita    03193-EEF-
Firm (TX)            Gallegos    David              v. Merck & Co., Inc.   DEK
                                                                           2:06-cv-
Hensley &                                           Curls, Anna L. v.      03882-EEF-
Dawson, PSC          Curls       Anna         L     Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Herman, Herman,                                     Allison, Kelly v.      04450-EEF-
Katz & Cotler, LLP   Plemons     Lemma        M.    Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Herman, Herman,                                     Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP   Aguillard   Joseph       Jr.   Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Herman, Herman,                                     Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP   Dobard      Albert             Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Herman, Herman,                                     Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP   Hughes      Carolyn      J.    Merck & Co., Inc.      DEK
                                                                           2:05-cv-
Herman, Herman,                                     Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP   Jackson     Jessie             Merck & Co., Inc.      DEK




                                            -4-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 5 of 16




                                                                               2:05-cv-
Herman, Herman,                                         Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP    Joseph          Shelly       J.   Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Herman, Herman,                                         Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP    Rogers-Taylor   Glynis            Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Herman, Herman,                                         Jenkins, Jackie v.     04416-EEF-
Katz & Cotler, LLP    Young           Kevin             Merck & Co., Inc.      DEK
                                                                               2:07-cv-
Hollis, Wright &                                        Clark, Pearlie M. v.   01419-EEF-
Harrington            Clark           Percy             Merck & Co., Inc.      DEK
                                                                               2:07-cv-
Howard, Lewis &                                         Broce, Donna v.        00738-EEF-
Petersen              Broce           Donna        L.   Merck & Co., Inc.      DEK
Humphreys,                                                                     2:06-cv-
James F. &                                              Sethi, Hercharan K.    10324-EEF-
Associates            Sethi           Frederic     S    v. Merck & Co., Inc.   DEK
Jackson, Michael                                                               2:06-cv-
W., Attorney at                                         Carter, Yolanda M.     10673-EEF-
Law                   Carter          Yolanda      M.   v. Merck & Co., Inc.   DEK
                                                                               2:07-cv-
Jenkins, Arthur L.,                                     Filippini, John v.     01257-EEF-
Jr.                   Filippini       John              Merck & Co., Inc.      DEK
                                                                               2:06-cv-
Johnson, David H.,                                      Gunn, Ruth A. v.       00316-EEF-
Law Office of         Gunn            Ruth         A.   Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Johnson, David H.,                                      Mahon, Cheryl A. v.    06542-EEF-
Law Office of         Mahon           Cheryl       A.   Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Johnson, David H.,                                      Scott, Verna v.        06206-EEF-
Law Office of         Scott           Verna        D.   Merck & Co., Inc.      DEK
Jones, Swanson,                                                                2:05-cv-
Huddell &             AUSTIN,                           Allen, Donna v.        04435-EEF-
Garrison, L.L.C.      DECEASED        BOBBY             Merck & Co., Inc.      DEK
Jones, Swanson,                                                                2:05-cv-
Huddell &                                               Allen, Donna v.        04435-EEF-
Garrison, L.L.C.      BROWN           CASSANDRA         Merck & Co., Inc.      DEK
Jones, Swanson,                                                                2:05-cv-
Huddell &                                               Allen, Donna v.        04435-EEF-
Garrison, L.L.C.      BUNCH           LUBERTIA          Merck & Co., Inc.      DEK



                                                 -5-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 6 of 16




Jones, Swanson,                                                      2:05-cv-
Huddell &                       FAY              Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   COLLIER      LYNETTE          Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   GIBSON       JOYCE            Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &          GORDON,                       Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   DECEASED     MARCEL           Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   HARMON       JAMES            Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   HARTFIELD    BETTY            Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   HENSON       EDWIN       L.   Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   KLEINPETER   CHARLOTTE        Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &          MCKINLEY,                     Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   DECEASED     JOHN             Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   MORRIS       CASSANDRA        Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &          MORVAN,                       Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   DECEASED     RITA             Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &          O'NEAL,                       Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   DECEASED     MARY        O.   Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   PARKER       AMEAL            Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   PARKMAN      SHIRLEY          Merck & Co., Inc.   DEK
Jones, Swanson,                                                      2:05-cv-
Huddell &                                        Allen, Donna v.     04435-EEF-
Garrison, L.L.C.   POWELL       C. P.            Merck & Co., Inc.   DEK



                                          -6-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 7 of 16




Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   RANDALL        PAULETTE          Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &          ROSS,                            Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   DECEASED       NORMAN            Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   ROUSSEL        BELLE             Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   ROUSSEL, SR.   LOUIS             Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   SIMPSON        LILLY             Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   STALLWORTH     BARBARA           Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &          STELLY,                          Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   DECEASED       JOHN              Merck & Co., Inc.    DEK
Jones, Swanson,    TAYLOR -                                              2:05-cv-
Huddell &          WILSON,                          Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   DECEASED       SANDRA            Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   THOMAS         TANYA             Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   TINSLEY        JAMES             Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   VINCENT        ANGELA            Merck & Co., Inc.    DEK
Jones, Swanson,                                                          2:05-cv-
Huddell &                                           Allen, Donna v.      04435-EEF-
Garrison, L.L.C.   WILLIAMS       ELAINE            Merck & Co., Inc.    DEK
Jones, Swanson,                                     Campbell, Victoria   2:06-cv-
Huddell &                                           C. v. Merck & Co.,   06682-EEF-
Garrison, L.L.C.   JONES          WILLIE            Inc.                 DEK
                                                    Montgomery, Lewis    2:05-cv-
Kalbaugh, Pfund &                                   C. v. Merck & Co.,   00532-EEF-
Messersmith       Montgomery      Lewis        C.   Inc.                 DEK



                                             -7-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 8 of 16




                                                                               2:06-cv-
Ketcherside, John                                       Watson, Brenda v.      02000-EEF-
F.                  Watson           Brenda        D    Merck & Co., Inc.      DEK
                                                                               2:06-cv-
Lamb Firm, LLC,     Santa-                              Alvarado, Ramon v.     07150-EEF-
The                 Rodriguez        Elba               Merck & Co., Inc.      DEK
                                                        Amadis-Rosario,        2:05-cv-
Lamb Firm, LLC,                                         Gladys v. Merck &      06234-EEF-
The                 Arroyo-Acosta    Miguelina          Co., Inc.              DEK
                                                        Amadis-Rosario,        2:05-cv-
Lamb Firm, LLC,                                         Gladys v. Merck &      06234-EEF-
The                 Baez-Maymi       Lucia              Co., Inc.              DEK
                                                        Amadis-Rosario,        2:05-cv-
Lamb Firm, LLC,                                         Gladys v. Merck &      06234-EEF-
The                 Castrillo        Maria         T.   Co., Inc.              DEK
                                                                               2:05-cv-
Lanier Law Firm,                                        Bell, Myrtle L. v.     00546-EEF-
PC                  Newell           Carol         P    Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Lanier Law Firm,                                        Bell, Myrtle L. v.     00546-EEF-
PC                  Portis-Carter    Helen         V    Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Levenberg, David,                                       Ashby, Connie v.       03609-EEF-
Esquire             ASHBY            CONNIE        C    Merck & Co., Inc.      DEK
Lieff, Cabraser,                                                               2:05-cv-
Heimann &                                               Oakley, James S. v.    05912-EEF-
Bernstein, LLP      Oakley           James         S    Merck & Co., Inc.      DEK
                                                                               2:05-cv-
Matthews &                                              Cabrera, Antonia A.    04589-EEF-
Associates          Benitez Boines   Ana           H    v. Merck & Co., Inc.   DEK
                                                                               2:06-cv-
Matthews &                                              Ackenback, Frank v.    06943-EEF-
Associates          Best             Lonnie        E    Merck & Co., Inc.      DEK
                                                                             2:05-cv-
Matthews &                                              Anderson, Johnny E. 04762-EEF-
Associates          Beverly          Albert             v. Merck & Co., Inc. DEK
                                                                               2:05-cv-
Matthews &                                              Cabrera, Antonia A.    04589-EEF-
Associates          Bruno Jurgens    Maria              v. Merck & Co., Inc.   DEK
                                                                               2:06-cv-
Matthews &                                              Ackenback, Frank v.    06943-EEF-
Associates          Caraway          Karen         J    Merck & Co., Inc.      DEK



                                                 -8-
 Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 9 of 16




                                                                   2:06-cv-
Matthews &                                   Ackenback, Frank v.   06943-EEF-
Associates    Cecil        Joyce         A   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Coleman, James v.     01548-EEF-
Associates    Coleman      James             Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Clark, Clara E. v.    06942-EEF-
Associates    Dantzler     Gloria        J   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Clark, Clara E. v.    06942-EEF-
Associates    Davis        Juanetta      M   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Clark, Clara E. v.    06942-EEF-
Associates    DeRosier     Celestina     E   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Clark, Clara E. v.    06942-EEF-
Associates    Fitzgerald   Laura         M   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Clark, Clara E. v.    06942-EEF-
Associates    Garcia       Alice             Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Clark, Clara E. v.    06942-EEF-
Associates    Graham       Sandra        H   Merck & Co., Inc.     DEK
                                                                  2:05-cv-
Matthews &                                   Anderson, Johnny E. 04762-EEF-
Associates    Hamilton     Kim               v. Merck & Co., Inc. DEK
                                                                   2:06-cv-
Matthews &                                   Haywood, Amelia v.    06944-EEF-
Associates    Higgins      Othell            Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Haywood, Amelia v.    06944-EEF-
Associates    Howard       Jim               Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Jenkins, Kenneth v.   07116-EEF-
Associates    Johnson      Neva          J   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Jenkins, Kenneth v.   07116-EEF-
Associates    Jones        Cheryl        A   Merck & Co., Inc.     DEK
                                                                   2:06-cv-
Matthews &                                   Jenkins, Kenneth v.   07116-EEF-
Associates    Lance        Ronald        M   Merck & Co., Inc.     DEK



                                       -9-
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 10 of 16




                                                                      2:06-cv-
Matthews &                                     Jenkins, Kenneth v.    07116-EEF-
Associates    Logan        Robert          G   Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     McBride, James v.      06947-EEF-
Associates    McGee        Iramintier          Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     Montalto, Karen A.     06945-EEF-
Associates    Montalto     Karen           A   v. Merck & Co., Inc.   DEK
                                                                      2:06-cv-
Matthews &                                     Montalto, Karen A.     06945-EEF-
Associates    Murrell      Dorenda         K   v. Merck & Co., Inc.   DEK
                                               Rockingham,            2:06-cv-
Matthews &                                     Valerie v. Merck &     07115-EEF-
Associates    Rogers       Edwin           C   Co., Inc.              DEK
                                                                      2:05-cv-
Matthews &                                     Ballard, Lucille v.    04767-EEF-
Associates    Smith        Patricia        A   Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     Padilla, Rosa M. A.    07042-EEF-
Associates    Soto Silva   Reynaldo            v. Merck & Co.. Inc.   DEK
                                                                      2:06-cv-
Matthews &                                     Jenkins, Kenneth v.    07116-EEF-
Associates    Spahn        Irma                Merck & Co., Inc.      DEK
                                               Rockingham,            2:06-cv-
Matthews &                                     Valerie v. Merck &     07115-EEF-
Associates    Spears       Beverly         J   Co., Inc.              DEK
                                               Rockingham,            2:06-cv-
Matthews &                                     Valerie v. Merck &     07115-EEF-
Associates    Stone        James               Co., Inc.              DEK
                                               Rockingham,            2:06-cv-
Matthews &                                     Valerie v. Merck &     07115-EEF-
Associates    Swank        Ronnie          L   Co., Inc.              DEK
                                               Rockingham,            2:06-cv-
Matthews &                                     Valerie v. Merck &     07115-EEF-
Associates    Taylor       Diana               Co., Inc.              DEK
                                                                      2:05-cv-
Matthews &                                     Cable, Linda M. v.     04759-EEF-
Associates    Vickers      Timothy         A   Merck & Co., Inc.      DEK
                                                                    2:05-cv-
Matthews &                                     Anderson, Johnny E. 04762-EEF-
Associates    Ward         Joy             L   v. Merck & Co., Inc. DEK



                                      - 10 -
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 11 of 16




                                                    Rockingham,              2:06-cv-
Matthews &                                          Valerie v. Merck &       07115-EEF-
Associates           West       David          P    Co., Inc.                DEK
                                                                         2:05-cv-
Matthews &                                          Anderson, Johnny E. 04762-EEF-
Associates           Williams   Henry               v. Merck & Co., Inc. DEK
                                                    Rockingham,              2:06-cv-
Matthews &                                          Valerie v. Merck &       07115-EEF-
Associates           Wisdom     Richard        L    Co., Inc.                DEK
                                                    Rockingham,              2:06-cv-
Matthews &                                          Valerie v. Merck &       07115-EEF-
Associates           Wright     Richard        W    Co., Inc.                DEK
                                                                             2:07-cv-
Mayeux, Donald                                      Fontenot, Landry v.      06876-EEF-
L., Law Firm         Fontenot   Landry              Merck & Co., Inc.        DEK
                                                                             2:06-cv-
Miller Firm, LLC,                                   Cates, James H. v.       05994-EEF-
The (PA)             Johnson    Mike                Merck & Co., Inc.        DEK
                                                                             2:05-cv-
                                                    Johnson, Doyle M.        02358-EEF-
Mithoff Law Firm     Johnson    Doyle               v. Merck & Co., Inc.     DEK
                                                                             2:05-cv-
                                                    Johnson, Doyle v.        06591-EEF-
Mithoff Law Firm     Johnson    Sandra              Merck & Co., Inc.        DEK
                                                                             2:05-cv-
                                                    Robbins, David v.        01582-EEF-
Mithoff Law Firm     Robbins    David               Merck & Co., Inc.        DEK
                                                                             2:07-cv-
Ofodile &                                           Ewers, Romeal v.         08079-EEF-
Associates, P.C.     EWERS      ROMEAL         A    Merck & Co., Inc.        DEK
                                                                             2:06-cv-
Pagniello, Robert,                                  Allen, Claudette F.      06520-EEF-
Law Offices of       Allen      Claudette      F.   v. Merck & Co., Inc.     DEK
                                                                             2:07-cv-
Phillips &                                          Kaptain, Daniel v.       07503-EEF-
Associates           Richland   Margo               Merck & Co., Inc.        DEK
Pittman, Dutton,                                                             2:06-cv-
Kirby & Hellums,                                    Smith, Billy G. Jr. v.   09700-EEF-
P.C.                 Smith      Billy          G.   Merck & Co., Inc.        DEK
                                                                             2:05-cv-
Rawlins Firm,                                       Love, Mavis v.           05162-EEF-
PLLC, The            Love       Mavis               Merck & Co., Inc.        DEK



                                          - 11 -
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 12 of 16




                                                                            2:07-cv-
Schmidt, Douglas                                    Abraham, Janice v.      01659-EEF-
M., APLC           Abraham      Janice              Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Collins, Doris v.       01656-EEF-
M., APLC           Collins      Doris               Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Daniel, Alfred Jr. v.   01631-EEF-
M., APLC           Daniel       Alfred              Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Declouet, Harold v.     01637-EEF-
M., APLC           Declouet     Harold              Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Fontenot, Willie v.     01677-EEF-
M., APLC           Fontenot     Willie              Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Freeman, Enola v.       01652-EEF-
M., APLC           Freeman      Enola               Merck & Co., Inc.       DEK
                                                                            2:06-cv-
Schmidt, Douglas                                    Gamble, Rose v.         01661-EEF-
M., APLC           Gamble       Rose                Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Gaspard, Mabel v.       01636-EEF-
M., APLC           Gaspard      Mabel               Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Ivy, Muron v. Merck     01648-EEF-
M., APLC           Ivy          Muron               & Co., Inc.             DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Jackson, Isaac v.       01632-EEF-
M., APLC           Jackson      Isaac               Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas   Thierry                          Jackson, Sandra v.      01634-EEF-
M., APLC           (deceased)   Bessie              Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Jasmine, Annetta v.     01646-EEF-
M., APLC           Jasmine      Annetta             Merck & Co., Inc.       DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Joubert, Lawrence       01669-EEF-
M., APLC           Joubert      Lawrence            v. Merck & Co., Inc.    DEK
                                                                            2:07-cv-
Schmidt, Douglas                                    Joubert, Shirlene v.    01658-EEF-
M., APLC           Joubert      Shirlene            Merck & Co., Inc.       DEK



                                           - 12 -
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 13 of 16




                                                                           2:07-cv-
Schmidt, Douglas                                    LeBlanc, James v.      01660-EEF-
M., APLC           LeBlanc       James              Merck & Co., Inc.      DEK
                                                                           2:07-cv-
Schmidt, Douglas                                    Lee, Minnie v.         01650-EEF-
M., APLC           Lee           Minnie             Merck & Co., Inc.      DEK
                                                                           2:07-cv-
Schmidt, Douglas   Levings                          Levings, Daryl v.      01675-EEF-
M., APLC           (deceased)    Auddie             Merck & Co., Inc.      DEK
                                                                           2:07-cv-
Schmidt, Douglas                                    Lewis, Catherine v.    01635-EEF-
M., APLC           Lewis         Catherine          Merck & Co., Inc.      DEK
                                                                           2:07-cv-
Schmidt, Douglas                                    Malbreaux, Yola v.     01641-EEF-
M., APLC           Malbreaux     Yola               Merck & Co., Inc.      DEK
                                                    Schexnayder,           2:07-cv-
Schmidt, Douglas                                    Tommie v. Merck &      01668-EEF-
M., APLC           Schexnayder   Tommie             Co., Inc.              DEK
                                                                           2:07-cv-
Schmidt, Douglas                                    Simon, Alcide v.       01662-EEF-
M., APLC           Simon         Alceede            Merck & Co., Inc.      DEK
                                                                           2:07-cv-
Schmidt, Douglas                                    Thomas, Willie Mae     01638-EEF-
M., APLC           Thomas        Willie Mae         v. Merck & Co., Inc.   DEK
                                                                           2:07-cv-
Schmidt, Douglas                                    Thompson, John v.      01663-EEF-
M., APLC           Thompson      John               Merck & Co., Inc.      DEK
                                                                           2:06-cv-
Silverman &                                         Israel Rosa v. Merck   09400-EEF-
Fodera             Rosa          Israel             & Co., Inc.            DEK
Sklodowski,                                                                2:06-cv-
Robert L. &                                         Waldman, Evelyn v.     11067-EEF-
Associates         Waldman       Evelyn             Merck & Co., Inc.      DEK
                                                                           2:06-cv-
Smith, Michael,                                     Davenport, Laura v.    00096-EEF-
Attorney at Law    BISAZZA       MAMIE          M   Merck & Co. Inc.       DEK
                                                                           2:06-cv-
Smith, Michael,                                     Davenport, Laura v.    00096-EEF-
Attorney at Law    DAVENPORT     LAURA          J   Merck & Co. Inc.       DEK
                                                                           2:06-cv-
Smith, Michael,                                     Davenport, Laura v.    00096-EEF-
Attorney at Law    DAVIS         MAUDIE         H   Merck & Co. Inc.       DEK



                                           - 13 -
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 14 of 16




                                                                              2:06-cv-
Smith, Michael,                                        Davenport, Laura v.    00096-EEF-
Attorney at Law      DRAMIS       ELEANOR              Merck & Co. Inc.       DEK
                                                                              2:06-cv-
Smith, Michael,                                        Davenport, Laura v.    00096-EEF-
Attorney at Law      KONGSTVEDT   ROBERT               Merck & Co. Inc.       DEK
                                                                              2:06-cv-
Smith, Michael,                                        Davenport, Laura v.    00096-EEF-
Attorney at Law      MADDOX       BERNICE              Merck & Co. Inc.       DEK
                                                                              2:06-cv-
Smith, Michael,                                        Davenport, Laura v.    00096-EEF-
Attorney at Law      PANARISI     JOSEPH               Merck & Co. Inc.       DEK
                                                                              2:06-cv-
Smith, Michael,                                        Davenport, Laura v.    00096-EEF-
Attorney at Law      YAGHIAZARIAN ARAM                 Merck & Co. Inc.       DEK
                                                                              2:06-cv-
Smith, Michael,                                        Williams, Cleola v.    08313-EEF-
Attorney at Law      WILLIAMS     CLEOLA               Merck & Co., Inc.      DEK
                                                                              2:05-cv-
Stipe, Harper Law                                      Stuckey, Michele v.    03604-EEF-
Firm                 Stuckey      Leo                  Merck & Co., Inc.      DEK
                                                       Sansotta Navarro,      2:05-cv-
Weitz &              Sansotta                          Herminia v. Merck      06403-EEF-
Luxenberg, P.C.      Navarro      Herminia             & Co., Inc.            DEK
                                                                              2:06-cv-
                                                       Keown, Addine L. v.    06423-EEF-
Young Firm, The      Keown        Addine           L   Merck & Co., Inc.      DEK
                                                                              2:06-cv-
                                                       Lahmann, Wilda v.      06432-EEF-
Young Firm, The      Lahmann      Randall          L   Merck & Co., Inc.      DEK
                                                                              2:08-cv-
Burford, Robert J.                                     England, Lisa G. v.    00153-EEF-
& Associates, PLLC   England      Lisa                 Merck & Co., Inc.      DEK




                                                       Hallman, James H.      2:07-cv-
Burford, Robert J.                                     Sr. v. Merck & Co.,    09402-EEF-
& Associates, PLLC   Hallman      James                Inc.                   DEK
                                                                              2:08-cv-
Burford, Robert J.                                     Hendley, Fredrick v.   00158-EEF-
& Associates, PLLC   Hendley      Frederick            Merck & Co., Inc       DEK



                                              - 14 -
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 15 of 16




Christoff, William                                                                2:06-cv-
Z., Attorney at                                           Kerr, Sr., Kenneth K.   11113-EEF-
Law                   Kerr, Sr.     Kenneth          K.   v. Merck & Co., Inc.    DEK
                                                                                  2:06-cv-
Hamilton Law                                              Gernhart, Alan v.       10605-EEF-
Firm, P.C.            Gernhart      Charlotte        A    Merck & Co., Inc.       DEK
                                                                                  2:07-cv-
Modesett, Jack,                                           Garrett, Charles R.     02140-EEF-
III, Law Offices of   Garrette      Juanita          T.   v. Merck & Co., Inc.    DEK


                        Claims for Which Counsel Consents to Dismissal:

                                                                                  2:06-cv-
Matthews &                                                Ackenback, Frank v.     06943-
Associates            Arnold        Augustina             Merck & Co., Inc.       EEF-DEK
                                                          Rockingham,             2:06-cv-
Matthews &                                                Valerie v. Merck &      07115-
Associates            Salyers       Sydney           S    Co., Inc.               EEF-DEK
                                                                                  2:07-cv-
Matthews &                                                Cotton, James v.        02202-
Associates            Bolin         Pearline         A    Merck & Co., Inc.       EEF-DEK
                                                                                  2:05-cv-
Matthews &                                                Ballard, Lucille v.     04767-
Associates            Clapp         Vernon           O    Merck & Co., Inc.       EEF-DEK
                                                                                  2:06-cv-
Matthews &                                                Clark, Clara E. v.      06942-
Associates            Cotton        Larry            M    Merck & Co., Inc.       EEF-DEK
                                                                                  2:06-cv-
Matthews &                                                Montalto, Karen A.      06945-
Associates            Nally         Philip           E    v. Merck & Co., Inc.    EEF-DEK
                                                                                  2:06-cv-
Matthews &                                                Jenkins, Kenneth v.     07116-
Associates            Ram           Satish                Merck & Co., Inc.       EEF-DEK
                                                                                  2:05-cv-
Matthews &                                                Lyles, Alana v.         04548-
Associates            Robinson      Doris            N    Merck & Co., Inc.       EEF-DEK




                                                - 15 -
Case 2:05-md-01657-EEF-DEK Document 16348-3 Filed 10/08/08 Page 16 of 16




                                 - 16 -
